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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

   Civil Action No. 16-cv-2155-WJM-SKC

   RAYMOND LYALL, et al.,

                Plaintiffs,

   v.

   CITY AND COUNTY OF DENVER,

   Defendant.


      JOINT MOTION TO VACATE FINAL TRIAL PREPARATION CONFERENCE
    AND TO SET STATUS CONFERENCE TO DISCUSS PROPOSED SETTLEMENT OF
                         CERTIFIED CLASS ACTION


          The Parties, through their attorneys, jointly move the Court to vacate the upcoming March

   1, 2019 Trial Preparation Conference and all associated deadlines, and to set a Status Conference

   on March 1, 2019 (or at a more convenient date and time for the Court) for the Parties to inform

   the Court of the proposed settlement and to determine how the Court wishes to proceed to ensure

   compliance with Fed. R. Civ. P. 23(e) and the Court’s Practice Standards.

          IN SUPPORT THEREOF, the Parties state:

          On February 22, 2012, the Parties filed a Joint Motion for a One-Day Extension of Time

   to File Materials in Preparation for the Final Trial Preparation Conference. [Doc. #210.] As

   explained by the Motion, the reason for the requested extension was to give the Parties the

   opportunity to determine if a proposed settlement of the Certified Class claims could be reached,

   the terms of which the Parties had been diligently working on since January 2019. [Id. at p.2, ¶¶ 4-
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   5.] As indicated by the Joint Notice of Proposed Settlement filed today with the Court [Doc. #

   212], the Parties have reached a proposed settlement to present to the Court for its consideration

   on the Certified Class claims. Additionally, the Parties have also reached a proposed settlement

   with the individual Plaintiffs, which will be voted on by the Denver City Council during its

   regularly scheduled meeting on March 4, 2019. [Id.]

          WJM Revised Practice Standard IV.C provides that the Court will not vacate a civil trial

   setting or any of its deadlines unless the parties file a Stipulation of Dismissal or a Stipulated

   Notice of Dismissal affirming that a settlement will finally and fully resolve all remaining claims

   in the action. If the settlement for the individual Plaintiffs’ claims is approved by City Council, the

   parties will file a Stipulated Notice of Dismissal in compliance with the Court’s Practice Standards.

   However, Rule 23(e) mandates that claims of a certified class “may be settled, voluntarily

   dismissed, or compromised only with the court’s approval” and further requires that “the court

   may approve [a settlement proposal] only after a hearing and only on finding that it is fair,

   reasonable, and adequate.” As a result, the Parties are unable to comply with the Court’s Practice

   Standards with respect to the proposed settlement of the Certified Class claims and the Parties

   require the Court’s guidance regarding how to proceed.

          Under the unique circumstances presented by this case, the Parties believe that good cause

   exists for the Court to vacate the upcoming March 1, 2019 Final Trial Preparation Conference and

   associated deadlines and to schedule a Status Conference on that day for the Parties to discuss with

   the Court how the Court would like to proceed. In light of the proposed settlement of the Certified

   Class claims, the Parties also request that the Court consider vacating the two-week trial

   commencing on March 18, 2019, and anticipate discussing with the Court at the requested Status


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   Conference the procedure for vacating the trial date, providing information to the Court sufficient

   to enable it to determine whether to give notice of the proposal to the class, and scheduling a

   fairness hearing before the Court.

             WHEREFORE, for the reasons stated herein, the Parties jointly request that the Court

   vacate the March 1, 2019 Final Trial Preparation Conference and associated deadlines, and

   schedule a Status Conference on March 1, 2019 at 2:00 p.m. in place of the Final Trial Preparation

   Conference, or at a more convenient date and time for the Court, for the parties to discuss the

   Court’s practices and preferences related to Rule 23(e) and vacating the upcoming trial date in this

   matter.

          DATED this 26th day of February 2019.

                                                 Respectfully submitted,

                                                 s/ Geoffrey C. Klingsporn
                                                 Wendy J. Shea
                                                 Geoffrey C. Klingsporn
                                                 Conor D. Farley
                                                 Michele A. Horn
                                                 Assistant City Attorneys
                                                 Denver City Attorney’s Office
                                                 201 W. Colfax Ave., Dept. 1108
                                                 Denver, Colorado 80202
                                                 Telephone: (720) 913-3100
                                                 Email: wendy.shea@denvergov.org
                                                 Email: geoffrey.klingsporn@denvergov.org
                                                 Email: conor.farley@denvergov.org
                                                 Email: michele.horn@denvergov.org
                                                 Attorneys for Defendant

                                                 s/ Jason Flores-Williams
                                                 Jason Flores-Williams
                                                 Law Office of Jason Flores-Williams
                                                 1851 Bassett St. #509
                                                 Denver, CO 80202
                                                 Telephone: 303-514-4524

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                                              Email: jfw@jfwlaw.net

                                              s/ Andy McNulty
                                              Andy McNulty
                                              David A. Lane
                                              Killmer, Lane & Newman, LLP
                                              1543 Champa Street, Suite 400
                                              Denver, Colorado 80202
                                              Telephone: (303) 571-1000
                                              Email: amcnulty@kln-law.com
                                              Email: dlane@kln-law.com
                                              Attorneys for Plaintiffs



                                    CERTIFICATE OF SERVICE

      I certify that on this 26th day of February 2019, I electronically filed the foregoing JOINT
   MOTION TO VACATE THE FINAL TRIAL PREPARATION CONFERENCE AND TO
   SET STATUS CONFERENCE with the Clerk of the Court using the CM/ECF system which will
   send notification of such filing to the following:

      Jason Flores-Williams, Esq.
      jfw@jfwlaw.net

      Andrew McNulty, Esq.
      amcnulty@kln-law.com

      David Lane. Esq.
      dlane@kln-law.com


                                                      s/ Geoffrey C. Klingsporn
                                                      Denver City Attorney’s Office




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